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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In Re:                                          :   Chapter 7
                                                 :
 Start Man Furniture, LLC, et al.                :   Case No.: 20-10553-CTG
                                                 :
                     Debtor.                     :
                                                 :
                                                 :
 Alfred T. Giuliano, in his capacity as          :   MEDIATION STATUS REPORT
 Chapter 7 Trustee of Art Van Furniture,         :
 LLC, et al.                                     :
                   Plaintiff,                    :
 v.                                              :   Adv. Proc. No.: 22-50170-CTG
                                                 :
 Lifestyle Enterprise, Inc., et al.,             :
                                                 :
                   Defendant.

        In accordance with this Court's Order Assigning Adversary Proceeding to Mediation, the
undersigned mediator reports that the mediation has not been completed and hereby provides a
projected schedule for completion.

                        Mediation is scheduled to occur on _______.

                        A mediation session needs to be scheduled, but the mediator has been
                        unable to arrange a date and time.

          X             OTHER: The Mediator expects to have a mediation date scheduled within
                        the next 45 days.


Dated: November 20, 2023                     Mediator

                                               /s/ Ian Connor Bifferato
                                             Ian Connor Bifferato (DE #3273)
                                             The Bifferato Firm P.A.
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